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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF INDIANA
                                          INDIANAPOLIS DIVISION
      In re:
      VANWINKLE, DEREK LEE                               §         Case No. 14-02251-JMC-7A
      VANWINKLE, STACEY LEIGH                            §         Chapter 7
      Debtor(s)                                          §
                                                         §



                                 NOTICE OF TRUSTEE’S FINAL REPORT AND
                                   APPLICATIONS FOR COMPENSATION
                                     AND DEADLINE TO OBJECT (NFR)

         Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Paul D. Gresk, trustee
of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have filed
final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                BIRCH BAYH FED. BUILD. & U.S. COURTHOUSE
                                               46 EAST OHIO STREET
                                                     ROOM 116
                                              INDIANAPOLIS, IN 46204
        Any person wishing to object to any fee application that has not already been approved or to the Final
Report, must file a written objection within 21 days from the mailing of this notice, together with a request for a
hearing and serve a copy of both upon the trustee, any party whose application is being challenged and the
United States Trustee. If no objections are filed, the Court will act on the fee applications and the trustee may
pay dividends pursuant to FRBP 3009 without further order of the Court.



Date Mailed: 10/02/2018                                      By:: /s/ Paul D. Gresk
                                                                                Chapter 7 Trustee
Paul D. Gresk
150 EAST 10TH STREET
INDIANAPOLIS, IN 46204
(317) 237-7911




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                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF INDIANA
                                           INDIANAPOLIS DIVISION
       In re:
    VANWINKLE, DEREK LEE                                    §      Case No. 14-02251-JMC-7A
    VANWINKLE, STACEY LEIGH                                 §      Chapter 7
                                                            §
                                                            §



                                   SUMMARY OF TRUSTEE’S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION

                  The Final Report shows receipts of :                             $                        850,000.00
                  and approved disbursements of:                                   $                        670,249.33
                  leaving a balance on hand of1:                                   $                        179,750.67

              Claims of secured creditors will be paid as follows:

  Claim       Claimant          Claim Asserted         Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                     0.00
                                                Remaining balance:                              $               179,750.67

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - Paul Gresk                                                 12,266.09               0.00       12,266.09
  Trustee, Expenses - Paul Gresk                                                 133.37              0.00           133.37

                  Total to be paid for chapter 7 administrative expenses:                       $                12,399.46
                  Remaining balance:                                                            $               167,351.21




          1
          The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                     Total             Interim       Proposed
                                                                       Requested         Payments to   Payment
                                                                                         Date

                                                         None

                  Total to be paid for prior chapter administrative expenses:                $                  0.00
                  Remaining balance:                                                         $            167,351.21

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                      of Claim                 to Date                Payment

                                                         None

                                                 Total to be paid for priority claims:       $                 0.00
                                                 Remaining balance:                          $           167,351.21

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $168,639.79 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 99.2 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                      of Claim                 to Date                Payment
  1          Cohen & Malad, LLP                           44,017.64                       0.00            43,681.31
  2          Discover Bank Discover                         3,267.56                      0.00             3,242.59
             Products INC
  3          Von Maur, Inc.                                   159.43                      0.00               158.21
  4          Capital One Bank (USA), N.A.                   5,814.46                      0.00             5,770.03
  5          Capital One Bank (USA), N.A.                     978.62                      0.00               971.14
  6          Capital One Bank (USA), N.A.                     921.91                      0.00               914.87
  7          Capital One Bank (USA), N.A.                   1,805.88                      0.00             1,792.08
  8          Navient Solutions, Inc.                        7,161.67                      0.00             7,106.95




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  Claim       Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                      of Claim                 to Date              Payment
  9           Navient Solutions, Inc.                       2,145.83                  0.00               2,129.43
  10          Navient Solutions, Inc.                     11,963.71                   0.00             11,872.30
  11          Navient Solutions, Inc.                       2,067.46                  0.00               2,051.66
  12          Navient Solutions, Inc.                     76,824.42                   0.00             76,237.40
              Department of Education
              Loan Services
  13          Capital One NA c/o Becket                     2,522.69                  0.00               2,503.41
              and Lee LLP
  14          PYOD, LLC its successors                        765.61                  0.00                 759.76
              and assigns as assignee of
              FNBM, LLC Resurgent
              Capital Services
  15          PYOD, LLC its successors                      2,751.85                  0.00               2,730.82
              and assigns as assignee of
              Citibank, N.A. Resurgent
              Capital Services
  16          PYOD, LLC its successors                      5,471.05                  0.00               5,429.25
              and assigns as assignee of
              Citibank, N.A. Resurgent
              Capital Services

                      Total to be paid for timely general unsecured claims:              $             167,351.21
                      Remaining balance:                                                 $                   0.00

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                      of Claim                 to Date              Payment

                                                         None

                      Total to be paid for tardily filed general unsecured claims:       $                       0.00
                      Remaining balance:                                                 $                       0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
    after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
    dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
    applicable).
             Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim    Claimant                              Allowed Amount       Interim Payments                Proposed
  No.                                                   of Claim                to Date                Payment

                                                     None

                                           Total to be paid for subordinated claims: $                        0.00
                                           Remaining balance:                        $                        0.00




                                                Prepared By: /s/ Paul D. Gresk
                                                                           Chapter 7 Trustee
    Paul D. Gresk
    150 EAST 10TH STREET
    INDIANAPOLIS, IN 46204
    (317) 237-7911




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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